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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                         )   Chapter 11
In re:                                                   )
                                                         )   Case No. 20-34215 (MI)
ARENA ENERGY, LP, et al.,1                               )
                                                         )   (Jointly Administered)
                                     Debtors.            )
                                                         )
ARENA ENERGY, LP,                                        )
                                                         )
           Plaintiff,                                    )
                                                         )
           v.                                            )   Adv. Proc. No. 20-03404
                                                         )
WT OFFSHORE, INC. and 31 GROUP, LLC,                     )
                                                         )
           Defendants.                                   )

          Declaration of Sylvanus M. Polky in Support of Arena Energy, LP’s Verified Original
         Complaint and Application for Temporary Restraining Order, Preliminary Injunction, and
                                         Permanent Injunction

            I, Sylvanus M. Polky, make this declaration under 28 U.S.C. § 1746:

            1.          I am an attorney at Susman Godfrey, LLP, and counsel for Arena Energy, LP. All

 facts set forth in this Declaration are based upon my personal knowledge.

            2.          I declare and verify that the allegations in ¶¶ 42-45 and 58-65 and in Footnote 3

 of Arena Energy, LP’s August 28, 2020 Verified Original Complaint and Application for

 Temporary Restraining Order, Preliminary Injunction, and Permanent Injunction (“Complaint”)

 are true and correct.

            3.          Exhibit 9 to Arena Energy, LP’s August 28, 2020 Verified Original Complaint

 and Application for Temporary Restraining Order, Preliminary Injunction, and Permanent


 1
   The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
 identification number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena
 Energy GP, LLC (7454); Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266);
 and Valiant Energy, L.L.C. (7184). The location of the debtors’ service address is: 2103
 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.

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Injunction (“Complaint”) is a true and correct copy of an August 24, 2020 Declaration of

Attempted Service by Richard Gowens. I received this declaration and am familiar with it.

         4.       Exhibit 10 to the Complaint is a true and correct copy of a printout of an

advertisement on LoopNet for 100 Crescent Court, the Crescent Building 100 in Dallas, TX. I

viewed this website and printed it.

         5.       Exhibit 11 to the Complaint is a true and correct copy of a screenshot of a Google

Maps Streetview of 3201 Ridge Road, Rockwall, Texas. I took this screenshot and printed it.

         6.       Exhibit 21 to the Complaint is a true and correct copy of an August 23, 2020 letter

from Geoffrey Harrison, an attorney at my firm, to 31 Group, LLC. I was copied on this letter

and am familiar with it.

         7.       Exhibit 22 to the Complaint is a true and correct copy of an August 23, 2020 letter

from Geoffrey Harrison, an attorney at my firm, to W&T Offshore, Inc., c/o Philip Eisenberg. I

was copied on this letter and am familiar with it.

         8.       Exhibit 23 to the Complaint is a true and correct copy of an August 24, 2020 letter

from Ken Goggans to my law firm, Susman Godfrey L.L.P., with attention to Geoffrey Harrison.

I am familiar with this letter.

         9.       Exhibit 24 to the Complaint is a true and correct copy of an August 24, 2020

email from Andrew Zatz to Geoffrey Harrison, an attorney at my firm. I am familiar with this

email.

         10.      Exhibit 25 to the Complaint is a true and correct copy of an August 26, 2020

email from Gregory Pesce to Andrew Zatz, Brian Schartz and Geoffrey Harrison, an attorney at

my firm. I am familiar with this email.




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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing statements are

true and correct.

Dated: August 28, 2020                       /s/ Sylvanus M. Polky
Houston, Texas                               Name: Sylvanus M. Polky
                                             Susman Godfrey, LLP
                                             Attorney for Arena Energy, LP




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